                   Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 1 of 27




 Revised 03/06 WDNY                          UNJTED STATES DISTRICT COURT
                                            WESTERN DISTRICT OF NEW YORK

                 FORM TO BE USED IN FILING A CIVIL COMPLAINT IN FEDERAL COURT
                                       (Non-Prisoner Context)

 All material filed in this Court is now available via the INTERNET. SeePro Se Privacy Notice for further information.

                                                      1. CAPTION OF ACTION                                       CV 62 2 8/4A^
 A.       Full Name ofPlaintiff: NOTE: Ifmore than one plaintifffiles this action and seeks informa pauperis status, each plaintiff
 must submit an in forma pauperis application or the only plaintiffto be considered will be the plaitttiffwho filed an application.




                                                                     -vs-


B.      Full Name(s) ofDefendant(s) NOTE: Pursuant to Fed.R.Civ.P. 10(a), the names ofallparties must appear in the caption.
The court may not consider a claim against anyone not identified in this section as a defendant. Add a separate sheet, if necessai'y.

1. Vi/^Ce 3u 2Zxe/A'                                                        4.
2. Troy Blak&                                                               5.
3. KaihlfiCA Vre\K)                                                         6.


                            2. STATEMENT OF JURISDICTION. VENUE and NATURE OF SUIT
                                        All ofthese sections MUST be answered

Identify thebasisforfederalCourtjurisdiction overyourclaim, such as thatthe United States government is apartyto the action, allthe
parties reside in different states andtherefore you claim diversity jurisdiction, or the claim presents afederal question or arises under
federal law.

A. Basis of Jurisdiction in Federal Court:




State why the Western District ofNew York is the propervenuefor this action, such as that yourclaim arises in or the defendant resides
in the 17 westernmost counties ofNew York State.

B. Reason for Venue inthe Western District: This Is uUfrf.                            Af^^AAarri-h
        of A/ew Yark
Identify the nature ofthis action, such as that itisa civil rights claim, apersonal injury orpersonalproperty (tort) claim, aproperty rights
claim, or whatever it is.


C. Nature of Suit:
               Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 2 of 27




                                             3. PARTIES TO THIS ACTION

PLAINTIFF'S INFORMATION NOTE: To list additional plaintiffs, usethisformat on anothersheet ofpaper.
Name ofFirst Plaintiff:. Charles
Present Address:^



Name of Second Plaintiff:,
Present Address;




DEFENDANT'S INFORMATION NOTE: To listadditional defendants, use thisformat on another sheet ofpaper.
Name ofFirst Defendant: ViA/^
Official Position ofDefendant (ifrelevant): |//re Pres'tden-l .^^txtChT
Address ofDefendant:. 776 ^/nerscf\ 6-hre.erl-//cricj/ i4^l^

Name ofSecond Defendant:_ 7r6y Slake
Official Position ofDefendant (ifrelevant): Of>er'Q'f'fatt\
Address ofDefendant:. 776                     6h^ee:hfR&dkeS'l'er^i^e\»sV(^rk. j

Name ofThird Defendant:                   Dr&^
Official PositionofDefendant(if relevant):
Address ofDefendant:.           frigr^'T'de                   " Bui-i/flcschet-f^r'. tJ&jJVdrkf


                         4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

A.      Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?
                Yes          No ^
If Yes, completethe next section. NOTE:Ifyou have brought more than one lawsuitdealing with the samefacts as this
action, use thisformat to describe the other action (s) on another sheet ofpaper.
1.     Name(s) of the parties to this other lawsuit:
       Plaintiff(s):
                   Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 3 of 27




           Defendant(s):_


   2.      Court (if federal court, name the district; if state court, name thecounty):_


   3.      Docket or Index Number;

  4.       Name of Judge to whom case was assigned:
  5.       The approximate date the action was filed:
  6.       Whatwas the disposition of the case?
                   Is itstill pending? Yes         No X
                            If not, give the approximate date it was resolved.
                   Disposition (check those statements which apply):
                          Dismissed (check thestatement which indicates why it was dismissed):
                                    Bycourt sua sponte as frivolous, malicious or for failing to state a claim
                                    upon which relief can be granted;
                                    By court forfailure to prosecute, payfiling fee or otherwise respond to a
                                    court order;
                                    By court due to your voluntary withdrawal of claim;
                         Judgment upon motion or after trial entered for
                                 plaintiff
                                 defendant.




                                                   5. STATEMENT OF CLAIM

  Please note that it is not enougli tojust listthe ground(s) for youraction. You must include a statement of the facts which
  you believe support each ofyour claims. In other words, just tell the story ofwhat happened and do not use legal jargon.

  Fed.R.Civ.P. 8(a) states that apleading must contain "a short and plain statement ofthe claim showing that the pleader is
  entitled torelief." "The function ofpleadings under the Federal Rules istogive fair notice oftheclaim asserted. Fair notice
  is that which will enable the adverse party to answer and prepare for trial, allow the application ofres judicata, and identify
  the nature ofthe case so itmay be assigned the proper form oftrial." Simmons v. Ahnirzn 49 F.3d 83, 86 (2d Cir. 1995).

 Fed.R.Civ.P. 10(b) states that "[a]ll averments of claim... shall bemade innumbered paragraphs, the contents ofeach of
  which shall be limited as far a practicable to a singleset of circumstances."



 A. FIRST CLAIM; On {date ofthe incident) /^Ay                      flbin
 defendant (give the name and (ifrelevant) theposition heldofeach defendant involved in this incident)
Vif^ct Haztelli) Vice Presi                   A Senior
               Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 4 of 27
  J hftd volo^^j-cered         dan'n^ ChrisMa^ shu^-d^xOf^ af ^OIO TW L
  durioq u,&i -Hme XVe W/^                             -fo be, 4rr^[ne<i c>n 4fie neoj manual 5quj -kr a^kas^
  One or -hoodo-ys, Bn-f X                    der\'ied}-^he'i reused -hapr&vfde me reaf>onaiolc accamm^
  odo-ffons 50 XOo^A f>er-focir\ 4he es6e/i"f'^( -f^chona of ihej<^h* Idb^en 4fie moAucd «5aaj
      did the following to me (briefly stale what each defendant named above did): frrks OpercA'iAA <S/1 JarVugfy
     <^^'?;'^€Y^yus4' pud-me uf on 4he^ manao.l^au) and -faU                         -hn ru.n 4f.^.
      run/tiog 4i\A. pJeAri AfiOuJ. So Jve ronnht^h^ sauJf. -Par -At/e man-UiA OAci ran
  yg^Y tOgj/           .io/ng. nrirViAr moLiiuAokaAS be^Ojuf^e f>arh, ujore tLc^miA^ up f^hnrX an fh4>.
  i^anqCi,! :$CnAjs 0(\-4^^ Uie^ oC^ <t)Ay 15-                           XuSdt& ise^iA^ u^rt 4v^6 dCfX&reryXjAks oA
  •fiOO dt PSeren-l-(io.y'i, Pir^-hj/ih uiOf. n/t U)edne5cl(\^^                 HI'^uiOSjoh ^/o35 af ld:3>0>A^ and
         de&^djt>h gj&s An rhutT^dny fHoy jS i-l- uja.<i                           af lo:a\Arn T h&A               k&ve
  hdHidaY'^ during lunci\ brent for                       he^jr-far per^ianal reasonf> SO-Mkajta /xjn?s .^omg
         The federal basis for this claim is: Empl/yx^MAnd-^-gs^ l^ru^ras^ Men-hfihrerA^ r,f firing
  and fk^kiri^Jo ptTsxncJe me; tAjiih reofsAnahle, ac{U>mfnAcki4in{\^ 60 TmA perXtsrm fh-e.
                                   v?afe the Court to do for you. Make no legal arguments and cite no cases or statutes:
  XU/arX           mUlJon dollars fnr eack nf ^tA, U\i/'. x^eAurP. nX TcurAL ^UahnntAiAS                        honkfiCsj
  ''f              cJ-^hrs/uJ^k. -(vr rwf (jiAi>yr^kym£rrh-fhi^S/^ prji,iX 4ui£) ye&re far 4hA herrc<^m&nj-
 •Zooi/A/ mCidhiA e^f Ou\d l<^k                      XuiOnX Ot^f^on cp id/utMCu^                   fiAy ^d/he OtroQa/if
 rta-k                    4hA harrnf^errt-and 4hc IqaIc of-hrCiinine Frc>m T'ftaJ L csn-Umt mnnurJ /ia/.i
 and ctlk>uj'if\^ d •Qxk.e. repori" tn-k) dheir-
         B. SECOND CLAIM: On (date ofthe incident) Mt^y                 j ^TJ
         defendant (give the name and (ifrelevant) position held ofeach defendant involved in this incident) Tmy Rlak&i
 Opercd'imf; f^Ojer/lj I ht^d unlan-hterfiA fo tjnalrjc Hudncj                                                         csf olQ/L
     XandL AuhndccHc^' r/mfn^ d4\ddr -Hme Vs/e. be&t\                             4n       -hrAineA a/v           n^jA mantAr.l
         did the following to me (briefly state what each defendant named above did): ffrnA py\r gf /gdfi-f One nc -jriM oti-yC.
         XU)a6 cienkd)4iiesf rePufkeJ^-h ptoxJidtp mA rrA.'^&rtahlG. adAAmfnArla-Pi'aA^ T
   Tfryrm f/te eA^ejnhal Jh.AAJiAt\f> of-UveJ&h,. /jjhen          thamucJ fSggJ Ljer^P tr\hi cspe.ra.4i?m
     domuary Ol.^n-4ln-ey^          pi/-h/r\& on -Hue manfjA^I fjniA Ond 4aU mg -/n run 4kA f^iOul:
 (Ajbde s-hll runr\{/Uj fhA. ej&oprio.        f)a Tut^ trr^ baSt f^u\fk fdr Si\K^man4^^ Q.,,d
         lliaU uiitM <ow tAinar mo tSuAcJ-fAA.^ an Jh'C manual ^au) hpAc..uf(e pnr4ss
     5/torf. Oa Hia, lAree^k oP Aldy 16-/^, QoH XdxdS                            up -k^ riifiPer^r^f-jAhs qa 4?.)c^
         The federal basis for this claim is: Cir^plc^^m^^jjj (AjQ^Stir he^n^<ln\&rX (UwAr.d< aP CfrIA^ rvxg'i
                   jp p^/jd^fnA.                  rea^sonAhlt^ aAAr^mmndrAinnS e,o 1flr,r\ pe^^^rrr^ U\Q.
         state Kiefly exactly what you want tlie Court to do for you. Make no legal arguments and cite no cases orstatutes:
 ^           aAf*. milhan dollars Por earJ^ Af4he fiv^ y^ys gf Tat\A LAJu mc,'k/*^s cusA hcLdid pay
         ^fbr eX ^ hrs/ipee^k ^ <^7 c*Atr'\f\J6yr\e/>i+ -HtASe.                      kij/) j/g&rs Par V/tg hA.rraflSmcuKf.
           mthtrt-es Ond \ock of4r&ioin^»Xol^ uicni plv;&}on of HumaA ^.gAfs -h oGcu                                          Sone
OcmcMAX Par oof reco^nlziA^ 4he harras&me/t4 af)d                             /oek bf drain foq fnyn T<W Lor\4he
         If you have additional claims, use the above format to set them out on additional sheets of paper.



C^^c. res4 is&r> (OdcU-UAACvl p&|)er^                               4
                    Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 5 of 27




                                              6. SUMMARY OF RELIEF SOUGHT

                            Summarize the reliefrequestedbyyou in each statement of claim above.
                     /"nmfaoxj Qsr n, rvA,^h^<- Q^y^c..r.<; Ar>,A T_ A:A                ja\q u>e,U uiW^ i\             VW>^
    >^c>ftUN& -W)                   <aicva^       perVlocxr o *-/t> liflurS OtAie^k                               44\-<L 4ot)A
yearns T ywH&gci wWi^ cxne^i\^\o^fiA. T                       <Ajr.rit4-       ^^^^\\iQl^                 r        <•>? 4^g
C<vg-y^<;y6 XpxA Vfs-far T<>yvA-L AiiAaiv\CLArtC^ <all                     ^huA—Aotjarvs X                    ^          .gn^
          pircM.Aa ao<^ ^err/v^rvo;^^ /He ^or no «so$ors                   wrv^Aft up <\              rejCttcV c»f -Wxe oihoiC
toA:>Ao.A,Ar.. T ol^                                 ATii^r^^Ate. •lKf>                       Ua>vvQiJp.'Pa^
4W«*r ^vVuffi +0 rcoo^ntzc. 41r>ese ^ev/e\ of cUserirniAix-HoA
    Do you want a jury trial? Yes         No
    I declare under penalty of perjury that the foregoing is true and correct.
    Executed on
                           (date)

    NOTE; Each plaintiffmust sign this complaint and must also sign all subsequentpapersfiled with the Court.
                                                                    uxM^Oiud

                                                                           Signature(s) of Plaintiff(s)
                Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 6 of 27



          6/ XocJ                        ^                                         ^duJ^douH^ <i^
                      Ly                                                       .AxMfi •                >^c,
:eMu:^e^ ^ -^Ku^ ^ULuj motiW                              ^ ^                 Cc          ^           . <5c^
r<k^ AuAbfY^jCc^ Aa^u^d /i> .^aA^exj^Jdji /vte AJi.<tM,.^nxUje,
  t/                        ^^UM^tcev^                                                               ac^6c</
          UjSi^£uM> oj^icd/iy,^ <yy^^<^^^3,don tJt
              dyiMJ ^i/evv^                                                               ^ £U>^. ^ c/xz^^c
         HomJJLcJ. /&£MX) (4 S7)                  tfiOnd^Ld Uj-i^i^ /l^ "ji/LO-iyrM^                        AU>ti^
/M(Md ( y^eAAx^yu.             fi6ydt^ o^jJtAJl               ^ <2fcc;^ .^it^jcJUma ou^yOyyvf-oMtA. yt
 jLeJkkiy^ 7^ oti^ 64<jdh                                    n/^c^AAXf     -4am) 4a jl^ C^diek riiaJt-^u/fs^c^UjQ
 O^ fiuAj^AAji.                  c^ >ta<4, Ma              y(>c <s^ "iti^JiAjCtAyjCM 0^                 ii/ ^
 PAcut                         6Pcjka^       -MxM-^ dui/Ck /Ouy-AO                        i/.
/t^ao«-dC            W<je, 4Ajbtli^ /Kc <y:? ^                     ^               <y(My .40ry<ii^k^ 0^
 (a>am nA^ r^ ^tuMOt<Myi                               e^r:ttA^,(yv^cc.yuy>.
^TiaJtAA^, /do ^kjQ^ CiyuAd                       unAX^ <y) a JaJUi^ Ai^ioyX                    <l      ^       /ud'
ypkUk pAumuc^Mm e^^iUAY^ ^                                               AMek. ^                            ^;2,^/7
         $eAOA^ oUmU^ QU                       C/{M.<^I6-/^ ^on UUXM. 40^:*^ Uf u
tP^dMMi-cUu n^S)o:y^^ ipx (/$6
/aSIZi^
^:fl£AA. ^                 ^    ^   /,                  ^ ^ >tb /U
                                             AAMa 44M4 am^M     ^<a^4e/4<^ci^szy^
                                                                   t/yX Ao am^UC Mmu, t<ro<
(yiiO\dU^                                     ^                o,tAy(4Ai^ tAA^ (MrkA1A.U Cj^/M^



         oAaa. AAcxaM-i'-M, fju^



     \
                                                                                                    CO
                                                                                                    cri
                                                                                                    CjO



1




                                                                                    t   \                           •u
                        "~o
                        g IIiM '•%   m •!   I
                                                zo
                        CXD                     CDO             cn              CO          ::::^

                                                                        -1
                                                                        N>
                                                                                                                    IS3
      n                                                   f—I           M


                                                                        Ui                                          f/4
                                                                        r^i                                         fn
                                                                        o                                           (j
                                                          rz:   :p:c3   o                                           o


          I   if
                    I                           iCSID                   Ci                                           R
                                                                CSD     <rj

                                                •CSD            ro      c7>
                                                ;cjl3           no
                                                                        yr,                                          r.
                                                                         n                                           jr>
                                                                                                                           Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 7 of 27




                                                !CjO                    t.)                                          o
                                                                        c:                                           t.
                                                •c-ri
                                                2C»1X13         a:
                                                                :n
                        r    n                  !csd                                                                 (O
                                                                r •'                                                 A)
                                                                n-i
                                                                en


              5!-

    I"?                                                                       III III iiiiiiiiiiiiiiiiiiiiraiiiiiii/i4
    Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 8 of 27




 UNITED STATES DISTRICT COURT                                                        Rc% iscd C7/07 WDNY

 WESTERN DISTRICT OF NEW YORK


CMoAe^ W-
                                                       Jurv Trial Demanded; Yes           No


        •Naniels) of Plarotiff or Plaintiffs


                            -VS-                               DISCRIMINATION COMPLAINT
                                                                           -CV-
Yj^^RuizsJIL
'Thi^3.kik.^
Kck-Hil^eA brcui
        Name of Defendant or Defendants




You should attacli a copy of your original Equal Employment Oppoi'tunity Commission
(EEOC) complaint, a copy of the Equal Employment Opportunity Commission decision, AND
a copy of the "Right to Sue" letter you received from the EEOC to this complaint. Failure to do
so may delay your case.
Note: Only those grounds raised in the charge filed with the Equal Employment Opportunity
      Commission can be considered by the federal district court under the federal
      employment discrimination statutes.

This action is brought for discrimination in employment pursuant to (check only those that
apply):

       Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17
       (amended in 1972, 1978 and by the Civil Rights Act of 1991, Pub.L.No. 102-166) (race,
       color, gender, religion, national origin).
               NOTE: hi order to bring suit in federal district court under Title
               VII, you must first obtain a right to sue letter from the Equal
               Employment Opportunity Commission.

       Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621-634
       (amended in 1984, 1990, and by the Age Discrimination in Employment Amendments of
       1986, Pub.L.No. 99-592, the Civil Rights Act of 1991, Pub.L.No, 102-166).
              NOTE: In orderto bring suit in federal district court underthe Age
                 Discrimination in Employment Act, you must first file charges with the
                 Equal Employment OpportunityCommission.

       Americans withDisabilities Act of 1990, as codified, 42 U.S.C. §§ 12112-12117
       (amended by the Civil Rights Act of 1991, Pub.L.No. 102-166).
                 NOTE: In order to bring suit in federal district court under the Americans
                 with Disabilities Act, you must first obtain a right to sue letter from the
                 Equal Employment Oppoitunity Commission.

JURISDICTION is specifically conferred upon this United States District Court by the
aforementioned statutes, as well as 28 U.S.C. §§ 1331,1343. Jurisdiction may also be
appropriate under 42U.S.C. §§ 1981,1983 and 1985(3), as amended by the Civil Rights Act of
1991, Pub.L.No. 102-166, and any related claims under New York law.
       Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 9 of 27




 In addition to the federal claims indicated above, you may wish to include New York State
 claims, pursuant to 28 U.S.C. § 1367(a).

      \/^           New York State Human Rights Law, N.Y. Exec. Law §§ 290 to 297 (age, race,
                    creed, color, national origin, sexual orientation, militaiy status, sex, disability,
                    predisposing genetic characteristics, marital status).

 PARTIES


 1.         My address is: iQ. Sc&f, klyA                     j                               j            ^


            My telephone number is;


2.          The name of the employer(s), labor organization, employment agency, apprenticeship
            committee, stateor local government agency who I believe discriminated against me
            is/are as follows:


            Name: ' Cjn A^ Au4/^ime,-hc^ Tnr. j Dcpr^f4nv>A4- <sf                        6n of -Uury^aA
            Number ofemployees: /6<a ^
            Address: HO                 Sirefri"              Aff tn&nr-qe.
                                     MfVNl Y^rK               ilack^s^^Rr; sie^iV^r(<


3.          (If different than the above), the name and/or the address of the defendant with
            whom I sought employment, was employed by, received mypaycheck from or
            whom I believed also controlled the terms and conditions under which 1were paid
            or worked. (For example, you worked for a subsidiary of a larger company and
            that larger company set personnel policies and issued you your paycheck).

            Name;


            Address:




CLAIMS


4.          1was first employed by the defendant on (date):
              Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 10 of 27




         5.      As nearly as possible, the date when the first alleged discriminatoiy act occuiTed is:


      Xi "S'^Cir'-jec/ cliU~{A<^ Chflifr^K^              XMcinfed t'C ^nxi/'e-c/ on >the.             Sdu) 'HyoJ'
         6.      As nearly as possible, the date(s) when subsequent acts of discrimination occurred (if any
  Jolo r         did):^^nyJony  tkiu^h-f: Swf-Xcoct^c/enieci-h beirck'tA^ -/a he-Her ctwiSeif-ht ddhe,
                         do.dunn<j 4he Uje.ek aX(5-i^ll. Lh(koe be&\ Se4l/i<j upj^k-^ <SY\
  ^                               UJcdne.iC^\jn'*^ Xil $e,4^Uja J&k           ck^d on TiiurSctay Td s
r<Xr\ $c>r^ fi^As ^or kxH /^v^fiveS,               auercou.rSc <5<r -tviodoi^^ iherv hdvc been Some cfaainf/zKC
alooxi'<9-% haxrs                             5M-upf,Ch<in<^e oucrS.^nd nr^u/n^ -Pf^isked /OrodUif-fo c/e»9nO^Q^
         7.      1 believe that the defendant(s)                   ,
       j; re-JurngfJ -Ao coor^C Aloncijiy /HOirn(ty          ZZ"^ J_        •fired for UjarfC Xftn(ske.(j.
                 a.               Are still committing these acts against me.
                 b.               Are not still committing these acts against me.
                 (Complete this next item only if you checked "b" above) The last discriminatory act
                 against me occurred on (date)


         8.      (Complete this section only if you filed a complaint with the New York StateDivision of
                 Human Rights)

                 The date when I filed a complaint with the New York State Division of Human Rights is
               MfiieA            dturAplriir^f nA /^ay
                 _ (estimate the date, if necessary)

                 I filed that complaint in (identify the city and state):                klfi.xKl Yt^rjC

                The Complaint Number was:


        9.      The New York State Human Rights Commission did                        /did not
                issue a decision. (NOTE: Ifit did issue a decision, you must attach one copy ofthe
                decision to each copy ofthe complaint; failure to do so will delay the initiation ofyour
                case.)

        10.     The date (ifnecessary, estimate the date as accurately as possible) I filed charges with the
                Equal Employment Opportunity Commission (EEOC) regarding defendant's alleged
                discriminatory conduct is: IKlQ^er^her 15. A/yl6

        11.     The Equal Employment Opportunity Commission did                        /did not
                -               issue a decision. (NOTE: If it did issue a decision, you must attach one
                copy of the decision to each copy of the complaint; failure to do so will delay the
                initiation of your case.)

       12.      The Equal Employment Opportunity Commission issued the attached Notice ofRight to
                Sue letter which Ireceived on: Fehr(xilr\^                                  . (NOTE: Ifit
      Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 11 of 27




         did issue a Right to Sue letter, you must attach oue eopy of the deeision to each copy of
         the complaint; failure to do so will delay the initiation of your case.)

13.      1am complainingin this action of the following types of actions by the defendants:

         a.             Failure to provide me with reasonable accommodations to the application
                        process


         b.             Failure to employ me

         c.   ^         Temtination ofmy employment
         d.             Failure to promote me

         e.             Failure to provide me with reasonable accommodations so I can perfonn
                        the essential functions of my job

         f.             Harassment on the basis of my sex

         g-             Harassment on the basis of unequal terms and conditions of my
                        employment

         h.             Retaliation because I complained about discrimination or harassment
                        directed toward me


         i.             Retaliation because 1complained about discrimination or harassment
                        directed toward others


         j.             Other actions (please describe)




14.      Defendant's conduct is discriminatoiy with respect to which of the following (check all
         that apply):

         a.          Race                             f.         Sexual Harassment

        b.           Color                            g.         Age
                                                                                      Date of birth
         c.          Sex
                                                      h.       Disability
        d.           Religion                         Are you incorrectly perceived as being
                                                      disabled by your employer?
        e.          National Origin                                yes       no

15.     1believe that I was        /was not         intentionally discriminated against by the
        defendant(s).
                       Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 12 of 27




                  ]6.      ] believe that the dcfendant(s) is/are       is not/are not        still committing these acts
                           against me. (Jf you answer is that the acts arc not still being committed, state when:
                                                     and why the defcndant(s) stopped committing these acts against
                            you:                              lo/^er              Yo^A L                                  JT/v^
                         •fe<r f/itlure 40 yS>rA<y/«o/g- /»ig LjJ'U^ r&ci^nc,hle Qcesmm&Ac.'J'iisAf^                     T cqa
                          Perfariys. 4h^                  ^nC-Uor\^ cF 'ny j6b
                  17.      A copy of the charge to the Equal Einploynient Opportunity Commission is attached
                           to this complaint and is submitted as a brief statement of the facts of niy claim.
                           (NOTE: You must attach a copyof the original complaint you filed with the Equal
                           Employment Opportunity Commission and a copy of the Equal Employment
                           Opportunity Commission affidavit to this complaint; failure to do so will delay
                           initiation of your case.)

                  18.      The Equal Employment Opportunity Commission (checkone):
                                  has not issued a Right to sue letter
                                  has issued aRight to sue letter, which Ireceived on febnuexry I'Sj

                  19.      State here as briefly as possible thefacts of your case. Describe how each defendant is
                           involved, including dates and places. Do not give any legal arguments or cite anycases
                           or statutes. If you intend to allege a number of related claims, number and set forth each
                           claim in a separate paragraph. (Use as much space as you need. Attach extra sheets if
                           necessaiy.)


J- ujCcS                Orte      Atafih[r\e.. Xa                 30/1 X G-j-aAeA
"^e             five                  Manual 5QcJ 6iar4ed                          durir^ 4ho.-l-          . T'd morifior) (f
•Hxt /olou)-^                    v/ce ^e'i» cl<ucf bafdfie /vtaffeirojg^ rtiuer r^dhe^. Ourf/yj -dhf u\P^k
oF               d-C>n cjorlCiln^ /6 hca^s -Fsr >^ase                U^df\e:^clay tT^ X   5eMir^ my
      jgb ^Cf<?53) g-f /0.36Am Ct^ /loar Id-htr XIn&A teaue dtu-lAj luhcd) hrecl( ct^ fugr rm
per^no,] b^$)ng<>^.7^e^oo^r7^^r.sg/gY           Te^a'i ge^t/lVy 4ix^                        /d5;nQxi^ q/]
hour fiwvd q /iglf /ftfgr 2 ktAcJ -k /Pave,         lo.ACln bre^ak ayain -foroA /rauir Ar        | hu'sfo.^^
5* ouec gpurse of -k^JC day.s anrf rLinn!o<j -hot V7ut /)rulcJoi„^s dhore. u)a^ fibmp W^t^o4/mg> nhiu^
5 ^ hcM.r$                                                   otter, Ct^J/McedM                    -f/i a
Ck hAndjo-cK. Shnte- -t'hii toas "^e                   af 4hc wee/l Jntoef                 0>53         <fl3 pfuj •fhe fiaris uiigna
C-uJr ^rer-f S»*\A,U froi^ lr\a,qe alur*\ir\u.fA bemdlc^. WVve»^ I Oawve VjGck Ao w^rK-                  rviemiftj Mqvj<Pa'^^ T coeg
                 FOR LITIGANTS ALLEGING AGE DISCRIMINATION                                           ^          g    i
Firc^ &iv4Et. Srpo-E Pfyr ujork X i^evcr g<Mr ^(ivsKecJ For no CecSfiio.                   -WNVOu^k oo ?gu\'V oF r^y otOfv
                 20.      Since filing my charge ofage discrimination with the Equal Employment Opportunity
                          Commission regarding defendant's alleged discriminatory conduct
Thv^ \i - I ctA ^mSctlf 4o my 60 days (slCiW,
                                      ormorecmd
                                              have elapsed
                                                        ^eAte as q S/ai'edless-frc^€5
                                                                                than 60mew
                                                                                        days have elapsed
                 FOR LITIGANTS ALLEGING AN AMERICANS WITH DISABILITIES ACT CLAIM

                 21.      I first disclosed my disability to my employer (or my employer first became aware of my
                          disability on
  Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 13 of 27




22.      The date onwhich ] first asked my employer for reasonable accommodation of my
         disability is



23.      The reasonable accommodations for my disability (if any) that my employer provided to
         me are:




24.      The reasonable accommodation provided to me bymy employer were            /werenot
                 effective.

WHEREFORE, I respectfully request this Court to grant inesuch reliefas may be appropriate,
including injunctive orders, damages, costs and attorney's fees.

Dated:


                                                            Plaintiffs Signature
                         Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 14 of 27
 EEOC Form 161 (11/16)                    U.S. Equal Employment Opportunity Commission

                                                    Dismissal and Notice of Rights
To:       Charles W. McGIII                                                             Trom:    New York District Office
          12 Brooklyn Street                                                                     33 Whitehall Street
          Rochester, NY 14613                                                                    5th Floor
                                                                                                 NewYork, NY 10004



      •                      On behalf ofperson(s) aggrieved vrhose identity Is
                             CONFIDENTIAL (29CFR S1601.7(a))
 EEOC Charge No.                                EEOC Representative                                                     Telephone No.
                                                 Holly M. Shabazz,
 16G-2018-03377                                 State &Local Program Manager                                            (212) 336-3643
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

      •           The facts alleged in the charge fall to state aclaim under any of the statutes enforced by the EEOC.
      •           Your allegations did not involve adisability as defined by the Americans With Disabilities Act.
      n           The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
      •           Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                  discrimination to file your charge

      •           The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                  information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                  the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
                  The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

      •           Other (briefly state)

                                                          - NOTICE OF SUIT RIGHTS -
                                                    (See the additional Information attached to this form.)

Title Vli, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years f3 vearsi
before you file suit may not be collectible.

                                                                     On behalf of the Commission


                                                                                                                       February 15, 2019
Enclosures(s)                                   -                     Kevin J^^rry,                                           (Date Mailed)
                                                                     District Director
cc;


            Attn: Director of Human Resources
            T & L AUTOiVIATIGS, INC.
            770 Emerson Street
            Rochester, NY 14613
                 Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 15 of 27
                                                 FACTS AB0UT FILING
                                     AN Ei^Ld^St DlSC^iNATION SUIT
                                     IN FEDERAL COURT IN NEW YORK STATE

       You have received a document which Is the final detenolmtion or other final action of theCommisaion.
       Thia ends our handling ofyour chaise. The Gorflxhissioa*? ^dn Is efifectiye upon recdpt Now, you
       must decide whether you want to % aprivate lawsuit in court This ^t sheet answers several
       commonly asked questions e^utfiling alawsuit

                                      WHERE SHOULD I FILE MY LAWSUIT?

       Federal District Courts have strict rules concerning where you may file asuit You may file a lawsuit
       against the respondeiU (employer, union, or employment agency) namj^ in your charge, the
       appropriate court isthe disMct coint which covers either the coimty where die respondent islocated or
       the county where the alleged act ofdiscrimination occurred. However you shoidd contact the court
           directly Ifyou have questions where tofile your lawsuit New York State has four federal districts:

                 •      TheUnited States District Court for the Southern District of New Yorkis locatedat 500
                        PearlStreet InManhattan. It covers the coundei of Bronx,Dutchess, New York
                        (Manhattan), Orange, Putnam, Rockland, Sullivan, and Westchestcr. (212) 805-0136
                      , http-y/www.nv3d.uscouits.gov
                 •       The United States District Court foe the Eastern District ofNew York is located at 225
                         Cadman Plaza in Brooklyn and covers thecounties of Kings (Brooklyn), Nassau, Queens,
                         Richmond (Staten lalantO, and Suffolk. (7181613-2600 httni/Avww.nvt^usy^urta.gov
                  •     Hie United States Dlairict Court for the Western District of New York is located at 68 Court
                         Street inBufialo. It coventhe counfies ofAllegheny, Caharaugus, Chautauqua, Chemung,
                         Erie, Oenesee, Llvingstoi^ Mqnrq^ Nlagan^ Qi^o, Otieanai, Schuyler, Seneca, Steuben,
                         Wayne, Wyoming, and Yates, (71^                 hitpV/www.nv^.uscourts.gov
                                                             332. -noo
                  •      The United States District Court foe the Northern District of New York is located at 100
                         South Clinton Street mSync^ asd coven the counties ofAlbtmy,                Ca^
                         Chanango, Clinton, Cql^fa^ CoiUand, Delaware, Essex, Frankll^
                         Hamiltpi^ Heridnw, Jeff^^ Lewis, Madison, Montgomery, Oneidr^ Ohii^ia, Oswcgo,
                         Ostc;^, RensselaeTi Si. Ur^Mc^              Schenect^, Schob^^ Tiq||, Tdmpkiiis,
                         Ulster, Warren, and Wiuhk^n. this Di^ct Court's Pn ^ Atton^               at 10
                         Broad Street in Utics New York. (315)234-8500 http'yAvww.pvndUscourts.gov

                                         WHEN MUST I FILE MY LAWSUIT?
            Your private lawsuit must be filed mU.S. District Court within 90 dsvs ofthe date you receive the
            enclosed EEOC Notice otlUj^tTo Sue. Otherwise, ybu Will hive Im^ yoiir right to sue.

                                                                (Over)




    k " ^ Od) /If            -J-'O
(CosKfer                  c. Q'/W/Ow. ^ A
Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 16 of 27


                                 POINlEbALAWYER?
No^ you do not need a lawyer to file a private suit You may file acomplaint in federal court
wi^ut alawyer wiilch is called aPro S* complaint Every district court has either aclerk ora
staffattorney who can assist you infiling Pro St, To find out bow to file a Pro Stcomplaint,
contact the clerk ofthe court having jurisdiction over your case wf^ can advise you ofthe
appropriate person to assist you and of the procedures to follow, which may very from district to
district

You may, however, wish to retain, a lawyer Ifyou chose. Whether you retain a private attorney,
or file Pro St, vou must file vour suit in the apotopriate court within 90 davff gfreceiving this
mailing.

           WHAT IF I WANT A LAWYER BUT CAN'T AFFORD ONE?

If you can't afford a lawyer, the U.S. District Court which has jurisdiction may assist you in
obtaining alawyer. You must file papers with the court requesting the appointment ofcounsel.
You should consult with the office ofthe district court that assists Pro St complainants for
specific instructions onhow to seek counsel The appointment ofcounsel in any ProSt
complaint is always ait thediscretion of the court

Generally, the U.S. District Court charges a $350.00 filing fee to commence a lawsuit However,
the court may waive the filing fee if you cannot afford to jpty It' You should ask the office of the
District Court that eusists Pro St complainants for information coiKeming the necessary
procedure to request that the filing fee be waived.

                            HOW CAN I FIND A LAWYER?
These are several attorney referral services operated by bar orother attorney organizations which
may beofassistarwe toyou in finding a lawyer to assist you inascertaining andasserting your
legal rights:

    AiptA^BtrAsiociMioa                               NiwYockStitf BirAswcladoa
    («^2lf222t                                        (t^»2.3(;^i
     wwTir,iteHoff
    NcwYo^Ctor B.nr                                   NadoMl EaptarmtBl Lawyers AaMcltikxt
    l^gif^Sehrk*                                      Refdfi^Smke
    {i\7)a6nn                                         {2i2)ii»%la
                                                      hltr/ATWw.iriiBY,wiTyBN
Other local BarAssociations in your area may also beofassistance.

            HOW LONG WILL THE EEOC RETAIN MY CASE HLE?
Generally, the Commissioa's rules callforyour charge Bit tobe destroyed after2years from the
date ofadetennlnatioii, but time frames may vary. Ifyoii file asuiiand wisli to request a copy of
your investigative file, you oryour attorney should make the request in writing as soon as possible.
If you file suit, you or your attorney should also notify this office when the lawsuit isresolved.
          Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 17 of 27




                                            Division of
                                         Human Rights
 NEW YORK STATE
 DIVISION OF HUMAN RIGHTS



 NEW YORK STATE DIVISION OF
 HUMAN RIGHTS on the Complaint of
                                                                DETERMINATION AND
 CHARLES W. MCGILL,                                             ORDER AFTER
                                                                INVESTIGATION
                                             Complainant,
                               V.
                                                                Case No.
 T & L AUTOMATICS, INC.,                                        10194827

                                              Respondent.

 Federal Charge No. 16GB803377


        On 5/29/2018, Charles W. McGill filed a verified complaint with the New York State
Division ofHuman Rights ("Division") charging the above-named respondent with an unlawful
discriminatory practice relating to employment because ofconviction record, race/color in
violation ofN.Y. Exec. Law, art. 15 (Human Rights Law).

       After investigation, and following opportunity for review ofrelated information and
evidence bythe named parties, the Division has determined that there isNO PROBABLE
CAUSE to believe that the respondent has engaged in or is engaging in the unlawful
discriminatory practice complained of. This determination is based on the following:
        Investigation did not reveal sufficient evidence to support the allegations ofunlawful
discrimination that are contained in the complaint. Investigation showed that Complainant was
employed as asaw operator for Respondent from 2012 until his employment termination in May
2018. Complainant is African American and says he has a misdemeanor conviction record.
Investigation did not show that any employee ofa different race/color received more favorable
treatment than Complainant or that any adverse employment action was taken against
Complainant because ofhis race/color orconviction record. Investigation also did not show that
Complainant was denied training due to any discriminatory animus. Investigation did not
establish that Respondent's employees were ever informed ofComplainant's conviction record
and there was no evidence ofany action taken against Complainant related to his conviction
record. Investigation showed that when Respondent deemed that Complainant had issues with
not following procedures which resulted in a costly incident, the decision was made to terminate
Complainant semployment. Respondent has articulated alegitimate, non-discriminatory
         Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 18 of 27




 business reason for terminating Complainant's employment, which was not shown to be a
 pretext. Therefore, there is no probable cause to support the allegations ofthe complaint.
         The complaint istherefore ordered dismissed and the file isclosed.
         PLEASE TAKE NOTICE that any party to this proceeding may appeal this
Detemmation to the New York State Supreme Court in the County wherein the alleged unlawful
discnmma.toty practice took place by filing directly with such court aNotice ofPetition and
Petition within sixty (60) days after service ofthis Determination. Acopy ofthis Notice and
Petition must also be sewed on all parties including General Counsel, State Division ofHuman
Rights, One Fordham Plaza, 4th Floor, Bronx, New York 10458 DO NOT FILE THF
ORIGINAL NOTICE AND PETITION WITH THE STATE DIVISION OF HUMAN RIGHTS.
                                                         Civil Rights Act of 1964. Enforcement
ofthe aforementioned law(s) is the responsibility ofthe U.S. Equal Employment Opportunity
Commission (EEOC). You have the nght to request areview by EEOC ofthis action. To secure
p p n r ^ a y s ofyour receipt ofthis letter, by writing to
2112. Otherwise, EEOC will generally adopt our action in your case.
Dated;            NOV 0 5 2018
            Rochester, New York

                                     STATE DIVISION OF HUMAN RIGHTS



                                    Julia B. Day
                                    Regional Director




                                            -2-
    Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 19 of 27




                       New York State Division of Human Rights
                                  Compiaint Form

CONTACT INFORMATION

My contact information:

Name:
         Charles W. McQIII
            12 Brooklyn street                                         Apt or Floor #:_

City:
        Rochester                                           Stete:
                                                                     NY           Zip:   14613


REGULATED AREAS

i believe i was discriminated against in the area of:
IE) Employment                 • Education                                        • Volunteerfirefighting

• Apprentice Training                      • Boycotting/Biackiisting              •      Credit

• Public Accommodations                    •   Housing                            •      LaborUnion, Employment
(Re^urants, stores, hotels, movie                                                        Agencies
theaters amusementparks, etc.)             • Commercial Spa(»
                                                                                  • Internship


I am fifing a cmnplafnt against:

Company or Other Name:.         T and L Automatics
           770 Emerson street
        Rochester                                                                  zm: 14613
TelepHoneNumber;                                 31
                        (area code)

individual
Inrlit/irif lal people
                nomnlA who
                       tnrhn discriminated
                             Hier^rifninofArl against
                                              onoinef me:



    Name:                                                   Name:.
   jjye- plant manager                                      Title:




DATE OF DISCRIMINATION

The most recent act of discrimination happened on:                        05                27       2017
                                                                          month              day      year
        Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 20 of 27




                                 DOMESTIC WORKERS
          Please answer the questions on this page only if you are a domestic worker. If
          you are not a domestic wori<er, piease slap thispage and tum to the next pa^.

    The Human Rights Law protects you if you are being sexually harassed or harassed
    because of your gender, race, national origin, or religion AND you are employed in
    the home or residence of another person for the purposes of housekeeping,
    childcare, companionship, or any other domestic service purpose



Do you live in your employer's home? • Yes                  • No
          If yes, please be sure to fill out the Information on Pace 11 and provide the name of
          anoOier person who does not live mth you but vifill know how to contact you if the
          Division needs to reach you.


What did die person you are complaining against do?
Pfeese check aii that apply.
• Harassed me because of myrace or color     • Harassed me because of mynational origin
• Harassed me because of my religion         • Harassed me because of mygender/sex
•   Sexually harassed me




Other protections for Domestic Workem:

As a domestic Worker, you are also entitled to certain protections in the following areas:

    •    Minimum Wage (the lowest hourlyvi^ge under the law)
    •    Day of Rest (the amount of time off tiiat you should have each week)
    •    Paid Va«ifion (the amount of time offthat you should have each year)
    •    Overtime Pay (extra money that you receive for workingextra hours)
    •    DisairiiftyBenefits (payments ifyou (»n't workbecause of illnessor injuries)

If you have questions about these topics, please contact:

Naur York State Departinent of Latter
(518)457-9000
(888) 4-NYSDOL / (888-469-7365)
TTY/TDD (800) 662-1220
www.labor.ny.gov

          When you have finished answering these questions, oiease tum to
           Page 8.
     Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 21 of 27




           EMPLOYMENT OR INTERNSHIP DISCRIMINATION
Please answer the questions on this page only ifyou were discriminated against in the area
ofemployment orinternship. Ifnot, turn totheneyd page.

How manyemployeesdoes this company have?
Ql-S                           I jlSormore ^20 or more \ pon't know
Are you currentlyworidng for die company?
•    Yes
                     .05              03          2012       )   What is yourjob title?
                                                                                          saw operat
Date of hire:
                           Month

m No
                       05              27         2017       J     What was yourjob title?
                                                                                             saw operat
Last day of work: (
                           Month                     year


• I was not hired by the company
Date of application: {_
                           Month            day       year




ACTS OF DISCRIMINATION

What did the peieon/ctmipany you are complainingagainst do? Please check all that apply.
•    Refused to hire me

@ Fired me / laid me off

•    Did not call me back after a lay-off
•    Demoted me
•     Suspended me
•     Sexually harassed me
@ Harassed or intimidated me (other than sexual harassment)
•     Denied me training
•     Denied me a promotion or pay raise
•     Denied me leave time or other benefite
•     Paid me a lower salary than other workers in my same title
•     Gave me different or worse job duties than other workers in my same title
•     Denied me an accommodatkm for my disability
•     Denied me an accommodation for my religious practices
 •    Gave me a disciplinary notice or negative performance evaluation
•     Other
               Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 22 of 27




                                     HOUSING DISCRIMINATION
Please answerthe questions on this page only Ifyou were discriminated against in the area
of housing. If not, turn to the next page.

Who discriminated against you?
•   Builder               •   Bank or other lender            •   Manager / Superintendent
• Owner/Landlord          •   Salesperson                     •   Other

•   Co-op Board           •   Gondo^sociation

What kind of property was involved?
•single-family house                GMoblle home              •Building with 2-4 aparhnents

•Two-family house                   •Commercial Space         •Building with 5 or more apartments
•other


Does the owner live on the property?            • Yes         • No

Was this property being sold or teing rented?
• Being sold •       Being rented


Address of property:

Address:                                                           Apt or Floor#:.

City:                                                State:                 Zip;_

Are you currently living there?
•   Yes          •   No


ACTS OF DISCRIMINATION

What did the person you are complaining against do? Please check all that apply.
•   Refused to rent or sefi to me

•   Evicted me / threatened to evict me

• Denied me access for my disability
• Deniedme equal terms, privileges, or facilities that oteer tenants were given
• Discriminated against me in lendingor financing
• Advertisedin a discrimmatory way
•   Harassed me based on my sex, national origin,race, disability, etc.
• Other:
  Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 23 of 27




DESCfUPTION OF DISC/yMINATlON - for all complaints (Public Accommodation,
Employment, Education, Housing, and allotherregulated areas listed on Page 3)
Please tell us more about each act of iHscrtmination that you acperienced. Please include
dates, names of people involved, and explain why you diink it was discriminatory.
PLEASE TYPE OR PRINT CLEARLY.

 My conviction record was brought to the attention by the Rochester Police Department
whom have been deraiiing my jobs and my social lifefor a while. They were calling
co-workers at their homes about my past a>nvictions and was replaying wire and phone
taps almost every week when the oppurtunity arises. This was all done to try and
pressure the (xrmpanyto fire me. Then the nude photos being mailed to their homes and
while this has been going on for some years. After five years of employment running one
automatics saw the company went out and bought a manual saw and without re-training I
ran the saw for five month and was fired. After my employer was harassing me about my
breaks and numbers and wifti threats of losing my Job. This was going while running two
saw at the same time where t would not have any time to check my parts for 100%




ifyou need more space to write, please continue writing on a separate sheet of paper and attach It to the
complaint form. PLEASE DO NOT WRITE ON TNE BACK OF THIS FORM.


                                                      8
    Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 24 of 27




                               NOTARiZATION OF THE COMPLAINT

Based on the information contained in this form, I diatige the at>ove-named Respondent with an unlawful
discriminatory practice,inviolation of the NewYork State HumanRights Law.

Byfifing this complaint i underhand that I am ateo filing my employment complant with the United States
Equal Employment Opportunity Commission under the Americans With Disabilities Act (covers disability
related to employment). Title Vil of the Civil Righfo Act of 1964, as amended (covers race, color, religion,
national origin, sex relating to empio^ent), and/or the Age Discrimination in Employment Act, as amended
(covers ages 40 years of age or older in employment), or filing my housing/credit complaint with HUD under
TitleVili of the Federal Fair Hoieing A(^, as amend«1 (covers acts of discrimination in housing),as appiicable.
This complaint will protect your rights under Federal Law.

1hereby authorize the New York State Division of Human Rights to accept this complainton behalf of the U.S.
Equal Employment Opportunity Commission, subject to the statutory limitations contained in the
aforementioned law and/or to accept this complaint on behaif of the U.S. Department of Housing and Urban
Development for review and additional filing by them, subject to the statutory limitations contained the in
aforementioned law.

I have not filedany other dvH action, nor do I have an action pending before any administrative agency, under
any state or local law, based upon this same unlawful discriminatory practice.

i swear under penalty of perjury that I am the complainant herein; that I have read (or have had read to me)
the foregoing complaint and know the contents of this complaint; and that the foregoing is true and correct,
based on my current knowleds^, irrfomration, and belief.




Sign ^urfitll legal name


                                                 Subscribed and sworn before me
                                                 ThW'^day of Mfiy^20 jt .
                                                 Sionature
                                                 Signature of Notary
                                                              Notai^ Public ^ "
           DOMINIC L. BOZZEUJ                      a               /
      Notary                                     County: f/>, Q^ilo      Commission expires: ///           Ojf
        Qualified in Monroe County tO
      Commission Expires Nov. 9,     /




Please note: Once this fonn is notarized and returned to the Division, it becomes a
legal document and an official complaint with the Division of Human rights. After the
Division accepts your complaint, this form wiii be sent to the company or pei^on(s)
whom you are accusing of discrimination.
  Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 25 of 27




 Wttnies&es:

 The following people saw or heard the disciimination and can act as witnesses:

 Name:                                                                   Job title;
 Telephone number:
 Retatonship tome:
 What did this perscmwitness?;


 Name:                                                                   Job title:
Telephone number
 Relationship to me:
What did the person vt^ess?


Ifyou have more witnesses, please write theirnames and Information on a separate sheet ofpaper and
attach it to ttiis form. Please do not write on the back of this form.




Additional Details:

Did you report or compiain about the discrimination to someone else?
(Ifyoutold someone, filed a report orsent a letteraboutthe discrimination, please indicate whether youwent
to a supervisor, a manager, the ownerofthe company, yourhuman resources office, yourunion, your
housing provider, the police, etc.).




Date you reported or complained about discrimination:
                                                                            month     day   year

How exactly did you complain atrout the discrimination?
(Who did you talk to about it? Who did you filed a report or make a formal written complaint or union
grievance with? What did you say?)




What happened after you compiained?
(Was your complaint Investigated? Was anyaction taken In response toyour complaint? Did the
discrimination stop? Didyou experience retaliation forcomplaining?)




                                                        12
       Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 26 of 27




 Ifyou did not report the discrimination, please explain why.




 Didthe person you are complaining against touch you, hurt you, or physically harm you?
'•    Yes       B No

     yes. please e>9ilaln:




Examples of other people who were discriminated against in the same way as you were:
            (For example,people vtrim were harassed by the same manager, disciplined or terminated forthe
            same reasons, did not receive an accommodatbn for the same reasons, etc.).
            Ifyou are complaining about Idiacriminatlon relating to race, national origin, age, religion, etc. please
            describe their races, national offglns, ages, religions, etc.




Examples of other people who were treated better than you were:
            (For example, people who wer^ not fired for doing the same thing you were fired for, people who
            were (Mftg Uie same job but imtdng more money, people who were allowed to stay In the store while
            you were told to leave, etc.).
            Ifyou are complaining about discrimination relating to race, national origin, age, religion, etc. please
            describe their races, nationai arlgins, ages, religions, etc.




                                                           13
                                  Case 6:19-cv-06228-MAT Document 1 Filed 03/27/19 Page 27 of 27
        JS44 (Rev. 05/18)
                                                                                           CIVIL COVER SHEET
                                                                                                                                                                         19 CV
        The JS 44 civil cover sheet and Ihe infonnation contained herein neither replace norsupplement the filing end service ofpleadings orother papers asrequired bvlaw except as
        provided by localrules ofcourt. Thisform, approved bythe Judicial Conference of the United States in September 1974, is required for theuseof the Clerk of Courtfor the
        purpose of initiating the civil docket sheet, (ffi'h" IXSTRUCnOXS O.VA'EXT PAGEOF THIS FORM.)

        I. (a) PLAINTIFFS                                       V/.                                                            DEFENDANTS T L Att^orrvaVics XnC ;
                                                                                                                            KJeviO Voirk. 6Va+<t Dcpurf rweA-V o'r                                              ion <»?-
                                                                                                                             HumaA RiAVAs
          (b) County of Residence of FirstListed Plaintiff                                                                     County of Residence of First Listed Defendant
                                             /EXCEPT IX U.S. PL-UXTJFF C.-U>ESi                                                                              aXU.S. PUIXTIFFCASESOXLll
                                                                                                                               XOTE:         IX LiVXD CGXDEMXATIOX CASES,. USE.THELOCAIiOX OF
                                                                                                                                             THE TRACT OF LAXT) 1X>/0L\ED.


          (c) Attorneys (Fimi hJame, Add/vss, andTelephone Number)                                                                Attomevs OfKnoim)

               "fVoSe" <                                                                                                                                                           .Tm \

    IL BASIS Of JURTSBICTIOIV(Placean"X"in OneBoxOnh)                                                            III. CITIZEiNSHIP OF PRINCIPAL PARTIES tpiace an "X" in Cne Boxfor Plaintiff
                                                                                                                          (ForDiversityCasesOnly)                                                    a}jd One BoxforDefendant)
    •     I    IJ 5. Govemmeit                      3     Federal Question                                                                            PTF      DEF                                                     PTE       DEF
                  Piaintiff                                 (U.S.GovernmentNot a Par^-)                              Citizen ofi his State            HI       G 1 Jnccrporatcd r>r Principal Piace                     H 4      0 4
                                                                                                                                                                               of Business In This State

    0    2     U S. GovemmeiU                    O 4 Divcrsit)'                                                      Citizen olAnother State          0 2      0 2 InccrporatedonaPriiicipalPhce                       G 5       G 5
                  Defendant                            (Indicate Citizenship ofParties in Item III)                                                                             of Business In Another State

                                                                                                                     Citizen cr Subject of e         G 3       0     3       Foreign^Cation                            0     6   0   6
                                                                                                                       Foreian Ccantrv
 IV. NATURE OF SUIT (Place Ofi "X" inOne Box Onfy)                                                                                                              Click here for: Xatuic of Suit Code
                  CONTRACT                                                  TORTS                                      FORTEITURE/PENALTY                          BAWKRUPTCy                            OTH^ STATUTES
    3    no Insurance                             PERSONAI. INJURY                     PERSONAL LNJURV               O 625 Drug Related Seizure          3 432 Appeal 28 USC 158                 3    375 False Claims Act
 G 120NIarine                        w^        •3 3iO Airplane                    3 365 Personal Injury -                   of Property 21 USC 88       3    423 Withdrawal                      3 376 Qui Tarn (31 USC
    3 13'J Miller Act                  r f     3 315 rVifplaneProduct                   Product Liability            3 690 Other                                   28 050157                               3729(a))
 O 140 Negotiable Instrument ^                        Liability                   3    367Healthcare'                                                                                            G 40O StateReapportionment
 3 150 Recover)' of 0\erpa>Tr.eRt 3 320 /i^ssault. Libel Sc                               Pharmaceutical                                                     PROPERTY RTOHTS                     3    410 .Antitrust
       ScEnforcement of /u<^ment        Slander                                            Personalinjury                                               3 820CopjTights                         3 4.30 Banks andBanking
 G 151 Medicare Act               G 330 Federal Employers'                                 ftoduct Li^iiity                                             3    830 Patent                         3     450 Commerce
 G 1.52Recover\^ofE>efaulted            Liability                              G 368 Asbestos Personal                                                  3    835 Patent-Abbreviated             3 460 Deportation
               Student I.oans                  3 340 Marine                                Inj'vii)' IVoducl                                                    New Dreg Application            3 470 Racketeer Influenced and
               (Excludes Veterans)             3 345 Marine Product                        Liabdity                                                     3 840 Trademark                               Corrupt Organizations
 G 153 Recover)'of O'crpaymcnl                          Liability               PERSONAL PROPERTY             t-ABOR                                         SOCIAL SECLTRITY                   3     480 Consumer Credit
               of Veteran's Benefits           G 350 Motor Vehicle             3 BTvO Other Fraud G 710 Fair Labor Standards                            O 8filH!A(1395fO                        3 485 TelephoneConsumer
G 160 Stockholders'S'uits                      3 355 Motor Vehicle             3 371 Truth in Lending                       Act                         a 862 Black Lum (92.3)                            Protection Act
3 :90 Other Contract                                    Picduct Liability     3       3SG Other Personal             3 720 LabortNIanagcmcnt            a sesDiwciDimv (405(g))                 3     490Cable/Sat TV
3 .95 Contract Product Liability               3 360 Other Persona!                Properh' Damage                          Relations                   a    864 SSID TitleXVT                  3 850 Securities'Ccxnmoditics'
G 196 Franchise                                       Injury                  3 385ft-cpertyDamage                  3 740Railw ay LaborAct              O 865 RS! f405(^)                                 Exchange
                                               3 362Personal Irjury -                     IVoduct Liabilitv         3 751 Family andMedical                                                     3 890Other Statuloiy Actions
                                                      Medical Malpractice                                                  Leave Act                                                            3 891 AgriculturalActs
               REAL PROPERTY                       CIVIL RIGHl S                  PRISONER PETinONS                 3 790OtherLaborLitigalicn                FfDERALTAXSLTTS                    3 893 Environmental NLittcrs
3       210 Land Condemnation                 3 440 Other Civil Rights                Habeas Corpus:                3 791 EmployeeRetirement            3 870 Taxes (U.S. Pla'Titiff            3 895 Freedom of Infonnation
3       320 Foreclosure                       G 441 Voting                    3       463 iUien Detainee                   Income Security Act                CT Defendant)                               Act
3 230Rent Lease & Ejectment                   ^ 442 ERipIo>Tr.ent             3 510 Motions to Vacate                                                   3 871 IRS- -Third Par^'                 3 896 Arbitration
3 240 Torts to Lai:d                          3 443 Hcusing/'                             Sentence                                                              26 USC i m                      3 899 Administrative Pioccdure
3 245 Tort Product Liability                         Accommcdaticns           3       530 General
3 290All Other Real ftoperty
                                                                                                                                                                                                         ActT?eview' or Appealof
                                              G 445Amer. wvDisabiiities •     3 535DeathPenslt)'                           EVrngGRATTON                                                                  Agency Decision
                                                     Employment                       Other:                        3 462Naturalization Application
                                              G 446 Amer. w/Disabilitics • 3 540 Mandamus & Other
                                                                                                                                                                                                3 950Constitutionality of
                                                                                                                    G 465Otlier Immigration                                                              State Statutes
                                                    Other                  3 550 Civil Rights                             Actions
                                              3 44S Education              G 555 R-ison Condition
                                                                              3       560 Civil Detainee -
                                                                                          CcTiditioas of
                                                                                          Confinement

V. ORIGLN {Place a» "X" inOne Bnx Onfyl
              Original          3 2 Removed from                    3   3    Remanded from                     O 4 Reinstated or
              Proceeding                State Court
                                                                                                                                        ^ 5 Transfeiredfrom              •    6 Multidistiict              d 8 Xfultidisti'ict
                                                                             Appellate Court                       Reopened                    Another District                  Litigation -                     Litigation -
                                                                                                                                                                                 Transfer                        Direct File
                                                  Cite ^e U. S. Civil Stati^ under which you are filing (Do not citejurisdictionnl statutes unless cEversitv)'
VL CAUSE OF ACTION
                                                    47 USr. 44Z
                                                  Briefdescription of cause TAilutr£   prov/id« me WfHa                                                              accom/oada-Harvs +e> Per^orfvv
                                                  4*1•€ ecsen-kcvl Vurvg-fion         Ay jaIo
vn. REQUESTED IN                                        CFEECK IF THIS IS ACI^SS AC nON "' DEMANDS 6,000.000                                                       CHECK YES only if demanded in complaint
    COMFLALNTt                                          UNT7ER RLXE 23, F.R.Cv.P.                    "                                                             JLTIY HEAUXOi 3 Yes
Vm. RELATED CASE{S)
               IF AIVY                                     instrjctions):    JLT)GE                                                                         DOCKET XmiBER
                                                                                  SIGXATURE OF ATTORNEY OF RECORD




    RECEIPT t                           AMOUXT                                          APPLYKG lEP                                       JUBC.E                                MAG JUDGE
